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8                                UNITED STATES DISTRICT COURT
9                              SOUTHERN DISTRICT OF CALIFORNIA
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11     SAN DIEGO COMIC CONVENTION, a                         Case No.: 14-cv-1865 AJB (JMA)
       California non-profit corporation,
12
                                            Plaintiff,       ORDER SETTING FILING DATE
13                                                           AND PAGE LIMITS FOR
       v.                                                    PLAINTIFF AND DEFENDANTS’
14
       DAN FARR PRODUCTIONS, a Utah                          POST-TRIAL MOTIONS
15     limited liability company; DANIEL
16     FARR, an individual; and BRYAN
       BRANDENBURG, an individual,
17
                                        Defendants.
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               Based on the representations made by both parties following trial, the Court is
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       anticipating that Plaintiff and Defendants will be filing various post-trial motions within
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       the next thirty days. The parties agreed to a filing period of thirty days after the jury verdict
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       of December 8, 2017, and waiving any issue as to timeliness therefore. Pursuant to Fed. R.
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       Civ. P. 6, all post-trial motions must be filed by January 8, 2018. To advance and advocate
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       judicial efficiency, the Court further ORDERS the following:
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            1. Any motions pursuant to Fed. R. Civ. P. 50(b), 59, 60 or for an award of attorney
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               fees will not exceed twenty-five (25) pages in length. Oppositions will not exceed
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               twenty-five (25) pages and Reply briefs will not exceed ten (10) pages in length.
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1         2. If Defendants intend on filing motions related to the defenses of unclean hands,
2            estoppel, and laches, each defense will be filed as a separate motion and must not
3            exceed ten (10) pages in length. Oppositions to each defense will not exceed ten
4            (10) pages and Reply briefs will not exceed five (5) pages in length.
5         3. Any motion relating to a permanent injunction or other equitable relief, will not
6            exceed ten (10) pages in length. Oppositions to this motion will not exceed ten (10)
7            pages and Reply briefs will not exceed five (5) pages.
8            Parties should note that if they wish to reference or point to any evidence, previously
9      filed documents, exhibits, or transcripts of trial or other proceedings to support their
10     motions, they need only cite to the CM/ECF Document Number and the CM/ECF Page
11     number and lines. They do not need to attach the transcripts, documents or exhibits as
12     exhibits to their motions.
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14     IT IS SO ORDERED.
15     Dated: December 12, 2017
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